                     Case 1:24-cv-05152-VM                   Document 4         Filed 07/09/24       Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                   VALDIN O'DONNELL,                                  )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )                            24 cv 5152
                                v.                                            Civil Action No.
                                                                      )
              JONATHAN STEINGART, and                                 )
                JENNIFER STEINGART,                                   )
                         y,                                           )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JONATHAN STEINGART, 250 West 93rd Street, Apt. 19E, New York, NY 10024
                                           JENNIFER STEINGART, 610 West End Avenue, Apt. 1A, New York, NY 10024




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Cilenti & Cooper, PLLC
                                           60 East 42nd Street - 40th Floor
                                           New York, NY 10165



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:     July 9, 2024                                                                       /S/ S. James
                                                                                           Signature of Clerk or Deputy Clerk
